                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-3092-JLK

  MARY MAYOTTE,

            Plaintiff

  v.

  U.S. BANK, N.A., AS TRUSTEE FOR STRUCTERED ASSET INVESTMENT LOAN
  TRUST MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-4;

       AND

 WELLS FARGO BANK, N.A.,

            Defendants


  PLAINTIFF MAYOTTE’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
              RESPOND TO LETTER FROM CLERK OF COURT


       COMES NOW Plaintiff Mary Mayotte, by and through her counsel, Cain & Skarnulis

PLLC, and files this Motion for Extension of Time to Respond to Letter from Clerk of Court,

stating in support thereof as follows:

                                            CONFERRAL

       Undersigned counsel conferred with counsel for Defendants on this matter, and avers that

the relief requested herein is unopposed.

                                             MOTION

       1.        On November 8, 2021, the Court issued a Letter from Clerk of Court in the above

captioned case, alerting the parties that Judge R. Brooke Jackson had an undisclosed conflict of

interest while presiding over this case that recently came to his attention. The Court invited a

response to this disclosure by November 30, 2021.
       2.      Undersigned counsel had not anticipated this communication and has been heavily

occupied with other matters, including other complex litigation involving numerous defendants.

Plaintiff, therefore, filed a motion for extension of time to respond, and on November 30, 2021,

requested an extension of time, up to and including January 4, 2022. The Court did not issue an

order on that Motion, but did reassign the case to the Honorable Judge John L. Kane on

December 15, 2021.

       3.      As described more fully in undersigned counsel’s Motion for Withdrawal Pursuant

to D.C.Colo. Rule 5(b), filed simultaneously herewith, undersigned counsel is not able to continue

representation of Ms. Mayotte at this time. Ms. Mayotte is in the process of seeking new counsel

in this matter, but this process has been complicated given the recent holidays and the novelty of

the legal questions presented.

       4.      As a result of the foregoing, Plaintiff Mayotte respectfully requests an additional

28-day extension to respond to the November 8, 2021 Letter from Clerk of Court, up to and

including February 1, 2022. No party will be prejudiced by the relief requested, and the extension

is not sought for any improper purpose.

                                          CONCLUSION

       For all of the reasons stated herein, Plaintiff respectfully requests that the Court grant her

a 28-day extension to respond to the November 8, 2021 Letter from Clerk of Court, up to and

including February 1, 2022.

       Respectfully submitted this 3rd day of January 2022.

                                                      /s/ Brad Kloewer

                                                      Brad Kloewer #50565
                                                      Cain & Skarnulis PLLC
                                                      bkloewer@cstrial.com
                                                      (303) 910-2734
                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2022, a true and accurate copy of this document was

filed electronically, to be distributed to all parties of record.


                                                         /s/ Brad Kloewer
